            Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 1 of 30


                                                                                        1:47 pm, Jul 19 2022


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH THE
 GOOGLE ACCOUNTS
 jazzycouture2006@gmail.com,
 tamajaal2016@gmail.com,
 bagnontiti@gmail.com, bagnontitii@gmail.com,                      22-mj-1689-AAQ
                                              Misc No.
 aduncan418@gmail.com,
 arwright135@gmail.com,
 thatcher022@gmail.com and
 my2als@gmail.com:
 THAT ARE STORED AT PREMISES
 CONTROLLED AND HOSTED BY
 GOOGLE, INC.



                              AFFIDAVIT IN SUPPORT OF AN
                            APPLICATION UNDER RULE 41 FOR
                            WARRANTS TO SEARCH AND SEIZE


       I, Joshua T. Kimrey, a Special Agent with the United States Army Criminal Investigation

Division (CID), Major Procurement Fraud Field Office (MPFFO), being first duly sworn, hereby

depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND


       1.       I make this affidavit in support of an application for a warrant to search

information associated with certain accounts that are stored at premises owned, maintained,

controlled, or operated by Google Inc., 1600 Amphitheater Parkway, Mountain View,

California. The information to be searched is described in the following paragraphs and

Attachment A. This affidavit is made in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Google to disclose to the

government copies of the information (including the content of communications) further
            Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 2 of 30




described in Section I of Attachment B. Upon receipt of the information described in Section I

of Attachment B, government-authorized persons will review that information to locate the items

described in Section II of Attachment B.


       2.       I am a Special Agent with Army CID and have been so employed since

September 2014. I am currently assigned to the Washington Metro Fraud Resident Agency at

Fort Belvoir, VA. Prior to becoming a federal law enforcement officer in 2014, I was an active

duty Soldier in the United States Army. I have attended and completed trainings in criminal

investigations and contract fraud at the Federal Law Enforcement Training Center, to include the

completion of the Procurement Fraud Investigation Training Program, Defense Acquisition

University (DAU) and various courses under the Association of Certified Fraud Examiners

(ACFE). Among other investigative responsibilities, I conduct investigations into alleged

criminal violations relating to federal contract fraud. I conduct interviews, participate in the

execution of search and arrest warrants, and gather evidence using various investigative

techniques. I am a “federal law enforcement officer” within the meaning of Rule 41(a)(2)(C) of

the Federal Rules of Criminal Procedure, and I am authorized to execute warrants issued under

the authority of the United States.

       3.       This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

       4.       In my training and experience, I have learned that Google provides a variety of

on-line services, including electronic mail (“email”) access, to the public. Google allows

subscribers to obtain email accounts at the domain name mail.google.com or gmail.com, like the

email account[s] listed in Attachment A. Subscribers obtain an account by registering with


                                                  2
            Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 3 of 30




Google. During the registration process, Google asks subscribers to provide basic personal

information. Therefore, the computers of Google are likely to contain stored electronic

communications (including retrieved and unretrieved email for Google subscribers) and

information concerning subscribers and their use of Google services, such as account access

information, email transaction information, and account application information. In my training

and experience, such information may constitute evidence of the crimes under investigation

because the information can be used to identify the account’s user or users.

       5.       Additionally, the facts as set forth in this affidavit show there is probable cause to

believe that violations of Conspiracy to commit Health Care and Wire Fraud in violation of 18

U.S.C. § 1349, and Fraud by Wire in violation of 18 U.S.C. § 1343 (collectively referred to as

the “TARGET OFFENSES”) have been committed by Rhonda PAUL, Bagnon TITI, Alfred

DUNCAN, Wesley WILLIAMS, Antoine WRIGHT, and Harriet JACKSON, further described

in email accounts in Attachment A. There is also probable cause to search the information

described in Attachment A for evidence of these crimes further described in Attachment B.

                                         JURISDICTION

       6.       This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

                                       PROBABLE CAUSE

       7.       On December 17, 2013, the U.S. Army, Northern Region Contract Office, Fort

Belvoir, VA, awarded Infused Solutions LLC (“Infused”), 22636 Davis Drive, Suite 600,

Sterling, VA 20164, a professional service contract with Walter Reed National Military Medical
                                                  3
            Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 4 of 30




Center (“WRNMMC”), Bethesda, MD, initially valued at approximately $6.7M with a contract

renewal awarded to Infused in December 2016. Specifically, contract number W91YTZ-14-D-

M111 (“M111”) was established to review, validate, and ensure “patients’ encounters” medical

codes were input accurately into Walter Reed’s medical database. Infused was awarded the

contract as the prime contractor and was compensated based on the number of patient encounters

reviewed and input into the WRNMMC system. The case was initiated when Army CID received

a complaint from a co-owner of Infused, regarding claims identified of fraudulent representations

resulting in the billing for services not rendered on M111.

       8.       Specifically, the complainant identified an agreement between Akbar MASOOD,

Infused co-owner, and a subcontractor company named HMA Solutions LLC. (“HMA”), 6412

Auburn Avenue, Riverdale, MD, to assist in providing medical coding and auditing support on

M111. The complainant stated the agreement with HMA was not approved by Infused. The

complainant further explained any type of agreement with a subcontractor required his approval

based on the business’ operating agreement established between the owners. When the

complainant confronted MASOOD about the relationship with HMA, MASOOD told the

complainant that a Government official had recommended HMA to assist Infused with the

coding work. The Government official MASOOD named at WRNMMC, was interviewed

wherein they denied knowledge of recommending a company or even heard of a company named

HMA to MASOOD. On January 23, 2017, and April 4, 2017, a fraudulent consulting or teaming

agreement was created between Infused, MASOOD, and “Renee Connor” of HMA. The actual

Renee Connor was interviewed on February 7, 2020, and stated she had never heard of a




                                                 4
            Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 5 of 30




company named HMA and further denied having any knowledge of such agreement nor had she

ever signed any such agreement.

       9.       According to the complainant, MASOOD established HMA with Michelle

PEEBLES and Harriet JACKSON solely for the purpose of submitting fraudulent invoices.

According to the U.S. Government’s Contracting Officer Representative (“COR”), the

Government had no knowledge of HMA supporting contract M111 as a subcontractor.

       10.      In addition to the establishment of HMA and billing the Government, PEEBLES,

MASOOD, and JACKSON hired additional employees under Infused for submitting fraudulent

invoices to the Government. The individuals were PAUL, WILLIAMS, DUNCAN, TITI, and

WRIGHT. All five of whom, were not certified medical coders/auditors; however, each of them

submitted invoices by email on a monthly basis. Each of them submitted a consulting agreement

with Infused. Collectively, they billed the Government over $1 million for work they did not

complete. In the subpoena response from American Academy of Professional Coders (AAPC)

and American Health Information Management Association (AHIMA) there were no accounts

for PAUL, DUNCAN, WILLIAMS, or TITI. Additionally, all coders required a security

background check and fingerprinting to obtain a Common Access Card (CAC). The CAC was

required to access the WRNMMC online system and numerous online medical databases used in

the Department of Defense. None of the aforementioned individuals possessed a CAC.

       11.      On March 17, 2022, a grand jury in this District returned an Indictment charging

MASOOD, JACKSON, PEEBLES, JUDITH RUSS, PAUL, TITI, DUNCAN, and WILLIAMS

with Conspiracy to Commit Health Care and Wire Fraud in violation of 18 U.S.C. 1349; multiple

counts of wire fraud in violation of 18 U.S.C. § 1343; MASOOD, JACKSON and PEEBLES

with Aggravated Identity Theft in violation of 18 U.S.C. § 1028A; and JUDITH RUSS with
                                                5
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 6 of 30




Conflict of Interest by a Government Employee in violation of 18 U.S.C. § 208. This affidavit is

submitted in support of a warrant that seeks to collect additional evidence in the form of emails

between members of this charged conspiracy as well as those of additional potential defendants.


                                          Rhonda Paul


       12.     PAUL was a friend of PEEBLES’ and JACKSON’s who worked primarily as a

receptionist at an outpatient medical clinic and worked part-time as an Uber and Lyft driver. In

January 2017, she submitted, via email, a consulting agreement, employee personnel form, W-9

Tax Form, and direct deposit enrollment form. Between February 2017 and February 2019,

PAUL submitted false monthly invoices utilizing her personal email account as

jazzycouture2006@gmail.com. She submitted her invoices to Ms. Gillespie, where Ms. Gillespie

would request Ms. PEEBLES validate the work completed. Typically, Ms. PEEBLES simply




                                                 6
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 7 of 30




responded with an email stating “Approved.” An example of these scheme is an email from Ms.

Paul on December 3, 2017, in the email below:




       As referenced in the email, Ms. Paul attached the following invoice:




                                                7
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 8 of 30




On December 8, 2017, Ms. Paul’s Bank of America (BoA) Account Number XXXXXXXX2032

reflects the deposit of $12,576.60.




After the deposit, Ms. Paul made serial, high-dollar ATM cash withdrawals.




In my training and experience, it is typical for criminals to submit fraudulent invoices, receive

payment, and attempt to transfer funds by cash instead of transferring between bank accounts in
                                                 8
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 9 of 30




an attempt hide who the funds are sent to. A Google subpoena response indicated subscriber

information for jazzycouture2006@gmail.com as belonging to PAUL with an account recovery

phone number of 202-277-4168, belonging to PAUL. On March 14, 2022, an email preservation

request was submitted to Google for this account.

                              Wesley Williams / Harriet Jackson

       13.     Wesley WILLIAMS was JACKSON’s boyfriend who worked as a barber. He had

no experience or credentials as a medical coder. Between March and August 2017, WILLIAMS

submitted monthly invoices from tamajaal2016@gmail.com. For example, on June 4, 2017, Ms.

Peebles sent filled out invoice to Ms. Jackson at my2als@gmail.com in which it was indicated

WILLIAMS was billing for completed work. The following day, June 5, 2017, Mr. Williams

submitted an invoice from tamajaal2016@gmail.com to Ms. Gillespie at

kgillespie@infusedsolutions.com. The invoice was identical to the one sent by Ms. Peebles. In

addition to this example, on at least two other occasions, in July and September 2017, Peebles




                                                9
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 10 of 30




provided Williams’ invoice to the my2als@gmail.com account on the same day as Williams

sending the same invoice to Gillespie for payment. An example is below:




                                             10
Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 11 of 30




                              11
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 12 of 30




Payment from this invoice was sent directly to Jackson’s BoA Account ending in 0153:

The recovery email for google email tamajaal2016@gmail.com is my2als@gmail.com,

registered to Ms. Jackson. The recovery phone number was listed as 240.308.4030, registered to

Mr. Williams. On March 14, 2022, an email preservation request was submitted to Google for

the accounts: tamajaal2016@gmail.com and my2als@gmail.com.

       14.    In April 2017, JACKSON used the my2als@gmail.com address to assist in the

creation of a fraudulent Consulting Agreement between Infused and HMA signed by “Renee

Connor.” Specifically, on April 2, 2017, MASOOD emailed Gillespie the following text, “Please

see the agreement for WR hourly ready to be sent out. This agreement is for Outpatient Records

Coding Only.” The attachment to the email was entitled, “Corp. Consulting Agreement Template

(Hourly).doc”. This document was an unsigned draft version of the HMA Consulting Agreement

with Infused. On April 3, 2017, Gillespie forwarded this attachment to PEEBLES with the text,

“Attached is the agreement that Akbar created over the weekend.” On April 5, 2017, PEEBLES

emailed JACKSON at the email address, my2als@gmail.com, with no text in the body of the

email. Attached to the email was the same document entitled, “Corp. Consulting Agreement

Template (Hourly).doc.” On April 6, 2017, the signed and formatted version of this document

was emailed from “Connor’s” HMA email address to Infused. The document with “Connor’s”

purported signature was entitled “Corp. Consulting Agreement Template (Hourly) (1)-

signed.pdf”. Based on my review of these emails, PEEBLES, JACKSON, and MASOOD were

involved in creating the fraudulent Consulting Agreement with Connor’s signature.

                                       Alfred Duncan

       15.    DUNCAN was an associate of Peebles who worked as a musician and had no

experience as a medical coder nor had the credentials. Between 2017 and 2019, Duncan
                                              12
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 13 of 30




submitted monthly invoices to Infused from his email account of aduncan418@gmail.com. For

instance, on July 3, 2017, Mr. Duncan emailed Ms. Gillespie at kgillespie@infusedsolutions.com

his July invoice:




                                             13
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 14 of 30




On July 10, 2017, Mr. Duncan’s SunTrust Bank account XXXXXX9851, received a deposit

mirroring the invoiced amount, $10,904.50. After the deposit, Mr. Duncan made two high-dollar

withdraws, totaling $10,700.




In my training and experience, it is typical for criminals to submit fraudulent invoices, receive

payment, and transfer funds to other accounts in an attempt to hide payment. On March 14, 2022,

an email preservation request was submitted to Google for this account.

                                           Bagnon Titi

       16.     TITI was Peebles’ boyfriend who worked as a Washington Metro Area Transit

Authority Bus Operator and had no experience and/or credentials as a medical coder. On April

27, 2017, Ms. Peebles emailed Ms. Gillespie stating that TITI would start working under Infused

on April 26, 2017, as an outpatient/inpatient medical coder. Ms. Peebles provided TITI’s email

address as bagnontiti@gmail.com. On May 4, 2017, Ms. Peebles emailed an invoice on TITI’s

behalf. TITI’s email bagnontiti@gmail.com was carbon copied on the email. A Google subpoena
                                                14
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 15 of 30




response was associated with “Jacques Retro”, the middle name of TITI. The recovery phone

number listed was 202-710-0639, that was listed as belonging to TITI. Beginning on June 5,

2017, invoices were submitted from bagnontitii@gmail.com (with an extra “i”), different from

the initial email address Ms. Peebles provided. The email was sent to Ms. Gillespie at

kgillespie@infusedsolutions.com where she requested Ms. Peebles to approve and Ms. Peebles

responded, “Approved.”




                                               15
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 16 of 30




A Google subpoena response indicated the email address bagnontitii@gmail.com was registered

to “BAGNON TITI” with recovery phone number 703.943.7546 registered to Ms. Peebles,

making it likely that Ms. Peebles exercised primary, if not exclusive, control over this account.

                                                16
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 17 of 30




The payment for this invoice was made by Infused to a joint USAA checking account ending in

8843 held by TITI and PEEBLES. During a later interview with agents investigating this case,

TITI acknowledged being paid by Infused and claimed his girlfriend, Ms. Peebles, did all of the

work for him. On March 14, 2022, an email preservation request was submitted to Google for

this account.


                                        Antoine Wright


       17.      Antoine WRIGHT was an Infused employee between 2015 and 2017. According

to emails I reviewed, he was hired by Peebles on May 15, 2015. Peebles forwarded a direct

deposit form for Bank of America account number ending in0215 to the Infused employee

handling payroll. The form was initially submitted to Peebles by WRIGHT’s mother, Tanya

Hatcher, at thatcher022@gmail.com, who was also a medical coder, though not with Infused.

On May 21, 2015, Ms. Gillespie sent Peebles an email asking whether Peebles submitted a

consulting agreement for WRIGHT before engaging his services. Peebles responded that she

had not because, “they put our backs to the fire at W[alter] R[eed] and we had staff out. He

helped to meet our productivity in a pickle which I KNOW is not the correct procedure.” On

May 29, 2017, Wright submitted employment paperwork to Infused which included an

application for employment, employee data sheet, Tax Form W-4, Driver’s License, and Social

Security Card. Between October 2015 and continuing through January 2016, Wright submitted

the same invoice each month; claiming he completed 1,162 APV encounters totaling $2,103.22.

Starting in March 2016, Wright submitted monthly invoices for payment. The highest amount he

claimed was in May 2017, when he submitted an invoice for $7,658.11. Wright initially sent

Peebles an invoice claiming 1,740 Outpatient Encounters totaling $3,149.40 but the same day,

                                               17
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 18 of 30




Peebles, appears to have modified that invoice by increasing the claimed outpatient encounters to

4,231 for a total of $7,658.11. Wright then submitted that invoice to Ms. Gillespie where

Peebles “approved” the invoice (below):




                                               18
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 19 of 30




On May 10, 2017, Infused paid this invoice to a joint Bank of America account held by

HATCHER and WRIGHT (XXXXXXXX0215). Subsequently, bank records show multiple

transfers from the 0215 account to Peebles’ BoA account ending in 1419.

       18.     Emails obtained from Infused Solutions indicate Wright consistently submitted

the monthly invoices from his email arwright135@gmail.com to Peebles wherein she approved

the invoice per a request by Ms. Gillespie. According to Google subscriber information,

arwright135@gmail.com was subscribed to “Antoine Wright” with a recovery phone number of

443.208.6087, which was listed to Tanya Hatcher, Wright’s mother. According to the Google,

thatcher022@gmail.com was subscribed to “Tanya H” with recovery phone number

443.208.6087, Hatcher’s phone number, and the same used as the recovery phone on to Wright’s

accountsemail account. Emails indicate Wright assisted Peebles with occasional projects but

Wright could not enter the data because he did lacked access to the required systems. On March

14, 2022, an email preservation request was submitted to Google for both accounts.


       19.     In addition to her requirement to approve invoices as the Site Manager, PEEBLES

provided the total number of encounters completed by all Infused employees and subcontracted

employees each month to Barbara Rosas, Operations Director at Infused, and others at Infused.

These final numbers were then used on the invoice Infused submitted to WRNMMC via Wide

Area Work Flow, the Department of Defense’s online invoice submission system. WRNMMC

then paid Infused and Infused subsequently paid each employee based on their invoice amounts.


       21.     On March 14, 2022, an email preservation request was submitted to Google for all

email accounts noted in Attachment A. On June 8, 2022, an extension to the preservation was

submitted for all email accounts.

                                              19
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 20 of 30




                          BACKGROUND CONCERNING GOOGLE 1


        22.     Google is a United States company that offers to the public through its Google

Accounts a variety of online services, including email, cloud storage, digital payments, and

productivity applications, which can be accessed through a web browser or mobile applications.

Google also offers to anyone, whether or not they have a Google Account, a free web browser

called Google Chrome, a free search engine called Google Search, a free video streaming site

called YouTube, a free mapping service called Google Maps, and a free traffic tracking service

called Waze. Many of these free services offer additional functionality if the user signs into their

Google Account.

        23.     In addition, Google offers an operating system (“OS”) for mobile devices,

including cellular phones, known as Android. Google also sells devices, including laptops,

mobile phones, tablets, smart speakers, security cameras, and wireless routers. Users of Android

and Google devices are prompted to connect their device to a Google Account when they first

turn on the device, and a Google Account is required for certain functionalities on these devices.

        24.     Signing up for a Google Account automatically generates an email address at the

domain gmail.com. That email address will be the log-in username for access to the Google

Account.

        25.     Google advertises its services as “One Account. All of Google working for you.”

Once logged into a Google Account, a user can connect to Google’s full suite of services offered



1
 The information in this section is based on information published by Google on its public websites,
including, but not limited to, the following webpages: the “Google legal policy and products” page
available to registered law enforcement at lers.google.com; product pages on support.google.com; or
product pages on about.google.com.

                                                   20
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 21 of 30




to the general public, described in further detail below. In addition, Google keeps certain records

indicating ownership and usage of the Google Account across services, described further after

the description of services below.

       26.     Google integrates its various services to make it easier for Google Accounts to

access the full Google suite of services. For example, users accessing their Google Account

through their browser can toggle between Google Services via a toolbar displayed on the top of

most Google service pages, including Gmail and Drive. Google Hangout, Meet, and Chat

conversations pop up within the same browser window as Gmail. Attachments in Gmail are

displayed with a button that allows the user to save the attachment directly to Google Drive. If

someone shares a document with a Google Account user in Google Docs, the contact

information for that individual will be saved in the user’s Google Contacts. Google Voice

voicemail transcripts and missed call notifications can be sent to a user’s Gmail account. And if a

user logs into their Google Account on the Chrome browser, their subsequent Chrome browser

and Google Search activity is associated with that Google Account, depending on user settings.

       27.     When individuals register with Google for a Google Account, Google asks users

to provide certain personal identifying information, including the user’s full name, telephone

number, birthday, and gender. If a user is paying for services, the user must also provide a

physical address and means and source of payment.

       28.     Google typically retains and can provide certain transactional information about

the creation and use of each account on its system. Google captures the date on which the

account was created, the length of service, log-in times and durations, the types of services

utilized by the Google Account, the status of the account (including whether the account is

inactive or closed), the methods used to connect to the account (such as logging into the account
                                                21
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 22 of 30




via Google’s website or using a mobile application), details about the devices used to access the

account, and other log files that reflect usage of the account. In addition, Google keeps records of

the Internet Protocol (“IP”) addresses used to register the account and accept Google’s terms of

service, as well as the IP addresses associated with particular logins to the account. Because

every device that connects to the Internet must use an IP address, IP address information can

help to identify which computers or other devices were used to access the Google Account.

       29.     Google maintains the communications, files, and associated records for each

service used by a Google Account on servers under its control. Even after a user deletes a

communication or file from their Google Account, it may continue to be available on Google’s

servers for a certain period of time.

       30.     In my training and experience, evidence of who was using a Google account and

from where, and evidence related to criminal activity of the kind described above, may be found

in the files and records described above. This evidence may establish the “who, what, why,

when, where, and how” of the criminal conduct under investigation, thus enabling the United

States to establish and prove each element or, alternatively, to exclude the innocent from further

suspicion. The examples provided above established that users fraudulently submitted monthly

invoices from their Google email account and received payment for it. In order to establish a

better understanding of facts, emails before, during, after the invoice submissions, may establish

further details within this investigation.

       31.     Based on my training and experience, messages, emails, voicemails, photos,

videos, documents, and internet searches are often created and used in furtherance of criminal

activity, including to communicate and facilitate the offenses under investigation. Thus, stored



                                                22
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 23 of 30




communications and files connected to a Google Account can provide direct evidence of the

offenses under investigation.

       32.     Account activity may also provide relevant insight into the account owner’s state

of mind as it relates to the offenses under investigation. For example, information on the account

may indicate the owner’s motive and intent to commit a crime (e.g., information indicating a

plan to commit a crime), or consciousness of guilt (e.g., deleting account information in an effort

to conceal evidence from law enforcement).

       33.     In addition, emails, instant messages, Internet activity, documents, and contact

and calendar information can lead to the identification of co-conspirators and instrumentalities of

the crimes under investigation.

       34.     Therefore, Google’s servers are likely to contain stored electronic

communications and information concerning subscribers and their use of Google services. In my

training and experience, such information may constitute evidence of the crimes under

investigation including information that can be used to identify the account’s user or users.

                                             CONCLUSION

       35.     Based on the forgoing, I request that the Court issue the proposed search warrant.

Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the

service or execution of this warrant. The government will execute this warrant by serving the

warrant on Google. Because the warrant will be served on Google, who will then compile the

requested records at a time convenient to it, reasonable cause exists to permit the execution of

the requested warrant at any time in the day or night.




                                                23
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 24 of 30




                                                    Respectfully submitted,



                                                    Joshua T. Kimrey
                                                    Special Agent
                                                    U.S. Army CID




Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
                                      22nd
Fed. R. Crim. P. 4.1 and 41(d)(3) this ___ day of June 2022.



       _________________________________________
       The Honorable Ajmel A. Quereshi
       United States Magistrate Judge




                                               24
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 25 of 30

                                                                           22-mj-1689-AAQ
                                    ATTACHMENT A

                                  Property to Be Searched

       This warrant applies to information associated with jazzycouture2006@gmail.com,

tamajaal2016@gmail.com, bagnontiti@gmail.com, bagnontitii@gmail.com,

aduncan418@gmail.com, arwright135@gmail.com, thatcher022@gmail.com and

my2als@gmail.com (“the Accounts”) that are stored at premises owned, maintained, controlled,

or operated by Google LLC a company headquartered at 1600 Amphitheatre Parkway, Mountain

View, CA 94043.




                                              1
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 26 of 30


                                                                           22-mj-1689-AAQ


                                       ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Google LLC (“Google”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Google, regardless of whether such information is located within or

outside of the United States, and including any emails, records, files, logs, or information that

has been deleted but is still available to Google, or has been preserved pursuant to a request

made under 18 U.S.C. § 2703(f) on 14 March 2022 with the Google Reference Number

13778863, Google is required to disclose to the government for each account or identifier listed

in Attachment A the following information from 1 May 2015 to Present, unless otherwise

indicated:

       a.      All business records and subscriber information, in any form kept, pertaining to
               the Account, including:
               1.     All emails and stored communications (1) exchanged between the email
                      accounts listed within Attachment A and the following accounts:
                      jazzycouture2006@gmail.com, tamajaal2016@gmail.com,
                      bagnontiti@gmail.com, bagnontitii@gmail.com, aduncan418@gmail.com,
                      arwright135@gmail.com, thatcher022@gmail.com, my2als@gmail.com,
                      peebles32@yahoo.com, abmasood@gmail.com; and (2)associated with
                      the domains @hmasolutionsllc, @infusedsolutions, @case-hcs, @rtmcpa,
                      @mail.mil; (3) all known accounts for Harriet Jackson, Akbar Masood,
                      and Michelle Peebles; and/or (4)that include the terms: “Infused,”
                      “HMA,” or “Walter Reed.”
               2.     Names (including subscriber names, user names, and screen names);
               3.     Addresses (including mailing addresses, residential addresses, business
                      addresses, and email addresses, including alternate and recovery email
                      addresses);
               4.     Telephone numbers, including SMS recovery and alternate sign-in
                      numbers;
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 27 of 30




               5.     Records of session times and durations, and the temporarily assigned
                      network addresses (such as Internet Protocol (“IP”) addresses) associated
                      with those sessions, including log-in IP addresses;
               6.     Telephone or instrument numbers or other subscriber numbers or
                      identities, including any temporarily assigned network address, SMS
                      recovery numbers, Google Voice numbers, and alternate sign-in numbers
               7.     Length of service (including start date and creation IP) and types of
                      service utilized;
               8.     Means and source of payment (including any credit card or bank account
                      number); and
               9.     Change history.
       b.      All device information associated with the Account, including but not limited to,
               manufacture names, model numbers, serial number, media access control (MAC)
               addresses, international mobile equipment identifier (IMEI) numbers, FCC ID
               numbers, Android IDs, and telephone numbers;
       c.      Records of user activity for each connection made to or from the Account(s),
               including, for all Google services, the date, time, length, and method of
               connection, data transfer volume, user names, source and destination IP address,
               name of accessed Google service, and all activity logs

Google is hereby ordered to disclose the above information to the government within 14 days of

issuance of this warrant.




                                                2
        Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 28 of 30




II.    Information to be seized by the government

       All information described above in Section I that constitutes evidence of violations of

Conspiracy to commit Health Care and Wire Fraud in violation of 18 U.S.C. § 1349, and Fraud

by Wire in violation of 18 U.S.C. § 1343 (collectively referred to as the “TARGET

OFFENSES”) have been committed by Rhonda PAUL, Bagnon TITI, Alfred DUNCAN, Wesley

WILLIAMS, Antoine WRIGHT, Tanya HATCHER, and Harriet JACKSON, and occurring after

December 2016 including, for each Account or identifier listed on Attachment A, information

pertaining to the following matters:

       a.      Specific descriptions of the records: “stored communications (1) between the
               email accounts jazzycouture2006@gmail.com, tamajaal2016@gmail.com,
               bagnontiti@gmail.com, bagnontitii@gmail.com, aduncan418@gmail.com,
               arwright135@gmail.com, thatcher022@gmail.com, my2als@gmail.com,
               mpeebles32@yahoo.com, abmasood@gmail.com, (2) between the accounts in
               Attachment A and any email accounts with @hmasolutionsllc,
               @infusedsolutions, @case-hcs, @rtmcpa, @mail.mil; (3) between the accounts
               in Attachment A and all known accounts for Harriet Jackson, Akbar Masood, and
               Michelle Peebles; and (4)all emails that include the terms: “Infused,” “HMA,” or
               “Walter Reed.”

       b.      Evidence indicating how and when the Account was accessed or used, to
               determine the geographic and chronological context of account access, use, and
               events relating to the crime under investigation and to the email account owner;

       c.      Evidence indicating the Account owner’s state of mind as it relates to the crime
               under investigation;

       d.      The identity of the person(s) who created or used the Account, including records
               that help reveal the whereabouts of such person(s).




                                                3
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 29 of 30




                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)


       I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by [[CHOOSE APPLICABLE: Google

LLC AND/OR Google Payment Corporation]] (“Google”), and my title is

_____________________________. I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state

that the records attached hereto are true duplicates of the original records in the custody of

Google. The attached records consist of ______________ [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:

       a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of Google, and they were made by Google as a regular practice; and

       b.      such records were generated by Google’s electronic process or system that

produces an accurate result, to wit:

               1.      the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of Google in a manner to ensure that they are true duplicates of the original

records; and

                                                  4
         Case 8:22-mj-01689-AAQ Document 3 Filed 07/19/22 Page 30 of 30




               2.      the process or system is regularly verified by Google, and at all times

pertinent to the records certified here the process and system functioned properly and normally.

        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




 Date                                  Signature




                                                   5
